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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


 PATRICIA GURROLA, ALEJANDRO                       Case No. 1:25-cv-00358
 ARREOLA, BRITINI BROUGHTON,
 EILEEN         AVILES,          COURTNEY
 DESCHAMP, YVONNE LAMENDOLA,
 SUSHMADAVI             LAKERAM,        &          CLASS ACTION COMPLAINT
 GERMAINE DOLLISME, individually and
 on behalf of those similarly situated,            JURY TRIAL DEMANDED
                    Plaintiffs,

         v.

 THE PROCTER & GAMBLE COMPANY,

                    Defendant.


                                  CLASS ACTION COMPLAINT

       Plaintiffs Patricia Gurrola, Alejandro Arreola, Britini Broughton, Eileen Aviles, Courtney

Deschamp, Yvonne Lamendola, Sushmadavi Lakeram, and Germaine Dollisme (“Plaintiffs”),

individually and on behalf of all others similarly situated who purchased Crest “Kids” Toothpaste,

bring this class action lawsuit against defendant The Procter & Gamble Company (“Defendant”).

Plaintiffs allege the following upon information and belief, except for those allegations that pertain

to Plaintiffs, which are based on Plaintiffs’ personal knowledge.

                                        INTRODUCTION

       1.      In the United States, most toothpaste contains an ingredient which makes the paste

unsafe for children to swallow: Fluoride.

       2.      Fluoride helps prevent cavities when applied topically to the teeth. When ingested,

fluoride can present significant risks to health, particularly for young children.

       3.      Defendant sells kids-branded Crest toothpastes for preschool children. These

toothpastes have the same concentration of fluoride as many adult-strength brands.
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       4.      Defendant knows its fluoride toothpastes, including its “kids” versions, are not safe

for young children to swallow. But it deceptively markets these Kids products in ways that lead

parents and caregivers to believe they are formulated to be extra safe for children – which

Defendant knows is false.

       5.      Defendant is the largest manufacturer of fluoride toothpaste in the United States

and millions of parents across this country have been deceived, and continue to be deceived, by its

deceptive marketing.

       6.      The Food & Drug Administration (“FDA”) states that fluoride-containing

toothpastes need to be kept “out of reach of children under 6 years of age,” and that caregivers

who purchase fluoride toothpaste for children under 6 need to supervise the child’s brushing in

order “to minimize swallowing.” 21 C.F.R. § 355.50(c)(1) & (d)(1) (second emphasis added).

       7.      Children under two years of age have little ability to “minimize swallowing” due

to poorly developed swallowing reflexes at this young age. Because of this, the FDA considers

fluoride toothpaste to be generally contraindicated for children under the age of 2. 1

       8.      The Centers for Disease Control and Prevention (“CDC”) agrees that children

under 2 should not use fluoride toothpaste. 2

       9.      Defendant agrees with CDC and FDA that fluoride toothpaste is contraindicated

for children under the age of 2. Defendant’s Crest website (“Website”) thus only offers a fluoride-




1
  Anticaries Drug Products for Over-the-Counter Human Use; Final Monograph, 60 Fed. Reg.
52474, 52487 (Oct. 6, 1995) (“The agency disagrees with the comments suggesting that the
contraindication for children under 2 years of age is unwarranted.”).
2
  Gina Thornton-Evans, et al., Use of Toothpaste and Toothbrushing Patterns Among Children
and Adolescents - United States, 2013-2016, 68 MMWR MORB MORTAL WKLY REP. 87, 87 (2019)
(“CDC recommends that children begin using fluoride toothpaste at age 2 years.”).

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free toothpaste for children under 2. 3

          10.    For children who begin brushing their teeth at 2, the CDC states they should use no

more than a “smear” of fluoride toothpaste, which is akin to a “rice grain” amount of paste, until

they turn 3. From age 3 to 6, the CDC states that children should use no more than a “pea-sized”

amount of paste. 4

          11.    The American Academy of Pediatrics (“AAP”), American Academy of Pediatric

Dentistry (“AAPD”), and the American Dental Association (“ADA”) all agree that children under

3 should use no more than a “smear” of fluoride toothpaste, and they further agree that children

ages 3 to 6 should use no more than a “pea-sized” amount of paste. See infra ¶¶ 126-128.

          12.    The following image from the ADA 5 shows what a “smear” (left) and “pea-sized”

(right) amount of toothpaste looks like:




3
    See https://crest.com/en-us/oral-care-products/kids (last accessed Jan. 13, 2025).
4
  Thornton-Evans, et al., supra note 2, at 87 (“Children aged <3 years should use a smear the size
of a rice grain, and children aged >3 years should use no more than a pea-sized amount (0.25 g)
until age 6 years, by which time the swallowing reflex has developed sufficiently to prevent
inadvertent ingestion.”)
5
    American Dental Association Council on Scientific Affairs, Fluoride toothpaste use for young
children, 145 J AM DENT ASSOC. 190, 191 (2014).

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        13.    Given how tiny a “smear” is, Defendant knows that disclosing this guideline to

caregivers will cause apprehension about the safety of its kid’s fluoride toothpaste. Defendant also

knows that if caregivers follow this guideline, consumers will get many more brushings per tube

and, thereby, Defendant will sell less of its product. Defendant, therefore, does not disclose the

“smear” guideline on any of its Crest kid’s toothpastes.

        14.    Instead of disclosing the “smear” guideline, Defendant’s Website states that its

kid’s fluoride toothpaste is only for kids who are “3+ Years.” 6

        15.    Consistent with its Website, Defendant places a prominent age notation of “3+

YRS” on the front label of all its kid’s Crest fluoride toothpastes with one glaring exception.

Defendant does not provide the 3+ YRS age notation for its highest selling kids fluoride

toothpaste: KID’S Crest Cavity Protection (hereafter, “KID’S CREST ONE”).

        16.    There is nothing about KID’S CREST ONE that makes it safer for kids to ingest

than Defendant’s other kids toothpastes. KID’S CREST ONE has the same fluoride concentration,

same flavors, same sparkle colors, and same sweet scents as Defendant’s 3+ YRS products.




6
    See https://tinyurl.com/CrestforKids (last accessed Jan. 13, 2025).

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          17.     Despite Defendant’s knowledge that children under 3 should only use a tiny

“smear” of toothpaste, Defendant’s KID’S CREST ONE packaging shows a full strip of

toothpaste. The full strip is shown on the front and side of the product’s box as well as on the front

label of the product itself. In total, Defendant includes three images of full strips of toothpaste on

each unit sold. 7

          18.     A full strip of toothpaste is at least eight to ten times more than the safe and

recommended amount of fluoride toothpaste for children under 3.

          19.     Showing full strips of fluoride toothpaste in advertising and packaging has been

described as an “aggressive” and “misleading” marketing tactic in peer-reviewed dental literature. 8

As one study noted, showing “a large swirl of toothpaste . . . directly conflicts with

recommendations and warnings for how much toothpaste should be used by a child.” 9 Another

study noted that “the power of a visual image” of a full strip of paste can overwhelm the fine print

on the back of the label and “result in children’s and parents’ use of toothpaste at levels higher

than recommended.” 10 Defendant is well aware of this.

          20.     In 2023, Defendant launched a new “color changing” toothpaste for kids: KID’s

Crest Advanced (hereafter, “KID’S CREST TWO”). As with KID’S CREST ONE, KID’S

CREST TWO depicts full strips of toothpaste on the front and sides of the box, as well as on the



7
  This is for the regular-sized Sparkle Fun version of KIDS CREST ONE which is, by far, the
highest selling iteration of this product line.
8
  Corey H. Basch & Sonali Rajan, Marketing strategies and warning labels on children's
toothpaste, 88 J DENT HYG. 316, 316 (2014).
9
    Id. at 318.
10
  Corey H. Basch, et al., Advertising of toothpaste in parenting magazines, 38 J COMMUNITY
HEALTH. 911, 913 (2013).

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front of the product itself.




        21.     KID’S CREST TWO magnifies this deception by showing a full strip of paste as a

visual instruction on how to use the product, which is located right on the side label of the product’s

box (as can be seen in the following photo):




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       22.     Defendant also emphasizes this visual instruction in its online promotional

materials for KID’S CREST TWO, including on various retail websites (e.g., Amazon, Target,

etc) where Defendant sells many units of the product:




       23.     Another misleading tactic that Defendant uses to sell its Crest kids toothpaste is to

present the products as if they are candy. The packaging of KID’S CREST ONE and KID’S

CREST TWO promotes the paste’s candy flavors (“bubble gum” and “sparkle fun”) and Defendant

imbues the paste with a flavor, color, and scent that is indistinguishable from candy.

       24.     It is well recognized that presenting drugs as “candy-like” products increases the

risk of overdose, particularly for young children. This problem has long been specifically flagged

in the context of fluoride toothpaste. In 1992, the Journal of Public Health Dentistry published a

consensus statement from dental researchers which read, in part, “The use of flavors that may

increase the ingestion of fluoridated dentifrices by young children should be strongly

discouraged.” 11 Others have issued similar recommendations and warnings. See infra ¶¶ 136-141.


11
  James W. Bawden, et al. Changing patterns of fluoride intake. Proceedings of the workshop.
Part II, 71 J PUBLIC HEALTH DENT. 1212, 1221 (1992) (emphasis added).

                                                 7
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          25.    Defendant’s deceptive marketing tactics cause millions of caregivers to unwittingly

permit and encourage their children to use far more toothpaste than is recommended or safe. Not

only does this pose significant health risks for children, it reduces the number of brushings that

families receive per tube, causing economic loss to consumers and unjust enrichment to Defendant.

          26.    In 2019, the CDC published the results of a nationwide survey of children’s

toothbrushing habits, and reported that over 50% of 3-6-year-old children are using at least twice

the recommended amount of toothpaste. 12

          27.    Swallowing as little as one full strip of fluoride toothpaste can cause symptoms of

acute toxicity in a 1-year-old child, including nausea, vomiting, and headache. See infra ¶¶ 101-

107. Defendant is aware of this problem. Defendant’s Vice President, Jim Schwartz, once told a

journalist: “Our own kid swallowed some toothpaste and threw up.” 13

          28.    As one pediatric dentist explained, “It does not take much toothpaste to cause a

problem in a very small child. For this reason, it is extremely important to keep toothpaste out of

reach of small children and behind childproofed drawers or cabinets. The symptoms that follow

are nausea and vomiting that progresses to seizures and muscle spasms. It can potentially lead to

death if left untreated.” 14

          29.    The FDA instructs that “if more [fluoride toothpaste] than used for brushing is

accidentally swallowed, get medical help or contact a Poison Control Center right away.” 21

C.F.R. § 355.50(c)(1).



12
     Thornton-Evans, supra note 2, at 88-89.
13
 Elaine Porterfield, Hazards lurk in toothpaste tube, THE NEWS TRIBUNE (Tacoma, Washington),
Apr. 5, 1994.
14
  Milling Pediatric Dentistry, Help! My Child Ate Toothpaste!, https://www.simmonsyoung.com/
PediatricDentalBlog/help-my-child-ate-toothpaste/ (last accessed Jan. 13, 2025).

                                                  8
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          30.     According to the National Capital Poison Center: “Toothpaste is not meant to be

swallowed, but it happens a lot. A child who has eaten toothpaste is a common reason parents call

Poison Control. Kids find the flavors and sweetness of toothpaste irresistible. Often, a child is

found sucking the paste out of the tube or is found with the paste smeared all over themselves (and

the room!).” 15

          31.     Children who swallow too much of Defendant’s “kid’s” toothpaste can develop a

mineralization disorder of their tooth enamel called dental fluorosis. 16 Defendant describes

fluorosis as a “hypocalcification of tooth enamel” that is marked by “less than normal amounts of

calcification in the teeth.” 17 This disorder causes visible, and sometimes disfiguring, staining of

the enamel. See infra ¶¶ 98-100.

          32.     Despite Defendant’s knowledge that its “kid’s” fluoride toothpaste causes a

mineralization disorder of tooth enamel, the label of KID’S CREST ONE deceptively states that

it is “GENTLE ON TOOTH ENAMEL.” 18

          33.     The marketing of fluoride toothpaste as a candy-like product, which Defendant

played a lead role in pioneering, is believed to be one of the reasons for the increase in dental

fluorosis that has been observed in recent decades. 19



15
    National Capital Poison Center, My Child Ate Toothpaste: What Should I Do?,
https://www.poison.org/articles/toothpaste (last accessed Jan. 13, 2025).
16
  Ana Karina Mascarenhas, Risk factors for dental fluorosis: a review of the recent literature, 22
PEDIATR DENT. 269, 274 (2000) (“Based on the number of well-conducted case control studies,
and the strength of the associations seen in the various studies, the risk of fluorosis from early use
of fluoride toothpaste is no longer a controversial issue.”).
17
   Crest, Dental Fluorosis: Causes, Treatments & Prevention, https://crest.com/en-us/oral-care-
tips/tooth-enamel/dental-fluorosis-causes-treatments-prevention (last accessed Jan. 13, 2025).
18
  This is for the regular-sized Sparkle Fun version of KIDS CREST ONE which is, by far, the
highest selling iteration of this product line.
19
     Christopher Neurath, et al., Dental Fluorosis Trends in US Oral Health Surveys: 1986 to 2012,
                                                  9
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       34.     Defendant first began selling candy-like and colorful fluoride toothpastes in the

mid-1980s. 20 Since that time, the rate of dental fluorosis among U.S. schoolchildren has

skyrocketed. In 1986-87, approximately 23% of U.S. children had fluorosis. 21 This rate tripled to

a staggering 68% of U.S children by 2015-16. 22

       35.     With millions of U.S. children showing visible signs of excess fluoride exposure

(dental fluorosis), there is growing concern about other chronic health conditions that fluoride may

be causing, including neurodevelopmental disorders and endocrine disruption. In August of 2024,

the prestigious National Toxicology Program (NTP) concluded that excess fluoride exposure is

associated with IQ deficits, and, in September 2024, a federal district court concluded that the

addition of fluoride to drinking water “poses an unreasonable risk of reduced IQ in children.” See

infra ¶¶ 118-122.

       36.     Plaintiffs bring this action to hold Defendant accountable for the false and

misleading labeling of its products, which puts the health of millions of children at risk.

Defendant’s misleading marketing of KIDS CREST ONE and KIDS CREST TWO violates the

Federal Food Drug & Cosmetic Act (“FDCA”), 21 U.S.C. § 352(a), 23 and many state warranty


4 JDR CLIN TRANS RES. 298, 306 (2019).
20
  See Jesus Sanchez, New Flavors Appeal to Youthful Palates: Children Fill Gap in Toothpaste
Market, L.A. TIMES, Sept. 25, 1987 (“Dental experts, for the most part, are not too excited about
the new toothpaste tastes. Alson J. McCaslin, president of the American Academy of Pediatric
Dentistry, said: ‘This is a new marketing technique to get a larger share of the market without
doing anything really new.’”).
21
   Keith E. Heller, Dental caries and dental fluorosis at varying water fluoride concentrations, 57
J PUBLIC HEALTH DENT. 136, 139 Tbl 5 (1997).
22
  Man Hung et al., A National Study Exploring the Association Between Fluoride Levels and
Dental Fluorosis, 6 JAMA NETW OPEN. e2318406 (2023).
23
  Plaintiffs recognize that there is no private right of action under FDCA and do not assert such a
claim here. Instead, Plaintiffs’ allegations that Defendant violated the requirements of the FDCA
serve as a prerequisite for their state law claims. See, e.g., In re Beyond Meat, Inc., No. 23 C 669,
2024 U.S. Dist. LEXIS 30397, at *21 (N.D. Ill. Feb. 21, 2024) (“[T]o avoid preemption, a state
                                                 10
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and consumer deception statutes, including, but not limited to, the Illinois Consumer Fraud and

Deceptive Trade Practices Act, 815 ILCS § 505/2, California Unfair Competition Act, Cal. Bus.

& Prof. Code § 17200, and New York General Business Law §§ 349-50.

       37.     Plaintiffs do not seek to impose any requirement that goes beyond, is not identical

to, or is different from, the requirements that are imposed on Defendant under the FDCA and its

accompanying regulations, including the FDA Monograph on fluoride toothpaste. 24 See C.F.R. §

355.50. Plaintiffs seek instead to hold Defendant responsible for the elements of its products that

are not required by the Monograph and which simultaneously violate the FDCA’s requirements.

A judicial finding that these voluntarily added attributes are false and misleading would be

harmonious and not in conflict with the FDCA. 25

                                             PARTIES

       38.     Plaintiff Patricia Gurrola is a citizen of Illinois and lives in Chicago. Ms. Gurrola

has purchased KID’S CREST ONE for her minor daughter I.K, and both KID’S CREST ONE and

KID’S CREST TWO for her minor son G.K.



law claim related to misleading labeling must allege a violation of the FDCA or its regulations.”).
24
  For example, Plaintiffs do not seek to require Defendant to disclose that children under 3 should
only use a “smear” of paste, or that Defendant add a “3+ YRS” notation on the label. Nor do
Plaintiffs seek to compel Defendant to disclose that ingesting fluoride can cause dental fluorosis,
disrupt the endocrine system, or impair neurodevelopment. Although Plaintiffs believe such
disclosures would be justified and prudent, Plaintiffs recognize this Court does not have the power
to order such measures.
25
   See, e.g., Bell v. Publix Super Mkts., Inc., 982 F.3d 468, 485 (7th Cir. 2020) (“The FDCA’s
preemption provision means that, while states may not require sellers to add further labeling that
is not required by federal law, they may prevent sellers from voluntarily adding deceptive content
that is not required by federal law.”); Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 758 (9th
Cir. 2015) (“FDA regulations do not require Hain to label its products as ‘All Natural’ or ‘Pure
Natural.’ If Astiana’s suit ultimately requires Hain to remove these allegedly misleading
advertising statements from its product labels, such a result does not run afoul of the FDCA, which
prohibits ‘requirement[s]’ that are ‘different from,’ ‘in addition to,’ or ‘not identical with’ federal
rules.”).

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         39.   Ms. Gurrola has purchased KID’S CREST ONE and KID’s CREST TWO for I.K.

and G.K. from CVS, Walgreens, and Mariano’s in Cook County.

         40.   Ms. Gurrola began purchasing KID’S CREST ONE for I.K. in approximately 2023

when she was 1 year old. She continued purchasing this product for I.K. until 2024, when she was

2 years old.

         41.   Ms. Gurrola began purchasing KID’S CREST ONE for G.K. in approximately 2020

when he was 1 year old. She continued purchasing the paste for G.K. until switching over to KID’s

CREST TWO in 2023. Ms. Gurrola purchased KID’S CREST TWO for G.K. until 2024.

         42.   Since they began brushing with Defendant’s toothpaste at 1 year of age, both G.K.

and I.K. have used full strips of paste with Ms. Gurrola’s assistance and/or permission.

         43.   Both G.K. and I.K. enjoyed the candy flavor of Defendant’s paste.

         44.   Based on the packaging of KID’S CREST ONE and KID’S CREST TWO, Ms.

Gurrola believed the product was specially formulated to be safe for young children to ingest.

         45.   Plaintiff Alejandro Arreola is a citizen of Illinois and lives in Chicago. Mr.

Arreola purchased KID’S CREST TWO for his minor daughter N.A.

         46.   Mr. Arreola has purchased KID’S CREST TWO in Walmart’s and/or Jewel-Osco

in Chicago.

         47.   Mr. Arreola began purchasing KID’S CREST TWO for N.A. in 2023 when she was

about 4 years old. He continued purchasing this product for N.A. until 2024 when N.S. was 5 years

old.

         48.   With Mr. Arreola’s assistance and/or permission, N.A. used a full strip of paste on

her brush for brushings.

         49.   N.A. enjoyed the candy flavor and color-changing properties of Defendant’s paste.



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       50.     Based on the packaging of KID’S CREST TWO, Mr. Arreola believed the product

was specially formulated to be safe for young children to ingest.

       51.     Plaintiff Britini Broughton is a citizen of Chicago and lives in Kankakee. Ms.

Broughton purchased KID’S CREST TWO for her minor daughter A.B. while living in

Bourbannais, Illinois.

       52.     Ms. Broughton has purchased KID’S CREST TWO from various stores, including

Walmart, Walgreens, and/or Kroger in Bourbannais.

       53.     Ms. Broughton began purchasing KID’S CREST TWO for A.B. in early 2024 when

A.B. was 3 years old. She purchased the product for A.B. through to the late summer of 2024.

       54.     With Ms. Broughton’s assistance and/or permission, A.B. used a full strip of paste

on her brush for brushings.

       55.     A.B. enjoyed the candy flavor of Defendant’s paste.

       56.     Based on the packaging of KID’S CREST TWO, Ms. Broughton believed the

product was specially formulated to be safe for young children to ingest.

       57.     Plaintiff Eileen Aviles lives in Suisun City, California and is a citizen of California.

Ms. Aviles purchased KID’S CREST ONE for her minor daughter I.A.C.

       58.     Ms. Aviles began purchasing KID’S CREST ONE for I.A.C. in approximately

2022 when she was 2 years old. She continued purchasing this product for I.A.C. until 2024 when

I.A.C. was 4 years old.

       59.     With Ms. Aviles’s assistance and/or permission, I.A.C. used a full strip of paste on

her brush for brushings.

       60.     I.A.C. enjoyed the candy flavor of Defendant’s paste.

       61.     Based on the packaging of KID’S CREST ONE, Ms. Aviles believed the product



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was specially formulated to be safe for young children to ingest.

       62.     Plaintiff Courtney Deschamp lives in Santa Clarita, California and is a citizen of

California. Ms. Deschamp purchased KID’S CREST ONE for her minor daughter L.D.

       63.     Ms. Deschamp began purchasing KID’S CREST ONE for L.D. in approximately

2022 when she was 1.5 years old. She continued purchasing this product for L.D. until 2024, when

L.K. was 3 years old.

       64.     With Ms. Deschamp’s assistance and/or permission, L.D. used a full strip of paste

on her brush for brushings.

       65.     L.D. enjoyed the candy flavor of Defendant’s paste.

       66.     Based on the packaging of KID’S CREST ONE, Ms. Deschamp believed the

product was specially formulated to be safe for young children to ingest.

       67.     Plaintiff Yvonne Lamendola lives in Oxnard, California and is a citizen of

California. Ms. Lamendola purchased KID’S CREST TWO for her minor daughter K.L.

       68.     Ms. Lamendola began purchasing KID’S CREST TWO for K.L. in approximately

2023 when she was 4 years old. She continued purchasing this product for K.L. until 2024, when

she was 5 years old.

       69.     With Ms. Lamendola’s assistance and/or permission, K.L. used at least a half strip

of paste for each of her brushings.

       70.     K.L. enjoyed the candy flavor of Defendant’s paste.

       71.     Based on the packaging of KID’S CREST TWO, Ms. Lamendola believed the

product was specially formulated to be safe for young children to ingest.

       72.     Plaintiff Sushmadavi Lakeram lives in Queens Village, New York and is a citizen

of New York. Ms. Lakeram purchased KID’S CREST ONE for her minor son C.L.



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       73.     Ms. Lakeram began purchasing KID’S CREST ONE for C.L. in approximately

2020 when he was 1.5 years old. She continued purchasing this product for C.L. until 2024, when

he was 5 years old.

       74.     With Ms. Lakeram’s assistance and/or permission, C.L. used a full strip of paste on

his brush for brushings.

       75.     C.L. enjoyed the candy flavor of Defendant’s paste.

       76.     Based on the packaging of KID’S CREST ONE, Ms. Lakeram believed the product

was specially formulated to be safe for young children to ingest.

       77.     Plaintiff Germaine Dollisme lives in Utica, New York and is a citizen of New

York. Ms. Dollisme purchased KID’S CREST TWO for her minor son S.D.G.

       78.     Ms. Dollisme began purchasing KID’S CREST TWO for S.D.G. in approximately

2023 when he was 4 years old. She continued purchasing this product for S.D.G. until 2024, when

he was 5 years old.

       79.     With Ms. Dollisme’s assistance and/or permission, S.D.G. used a full strip of paste

on his brush for brushings.

       80.     S.D.G. enjoyed the candy flavor of Defendant’s paste.

       81.     Based on the packaging of KID’S CREST TWO, Ms. Dollisme believed the

product was specially formulated to be safe for young children to ingest.

       82.     Defendant The Procter & Gamble Company is a publicly traded corporation

organized and existing under the laws of Ohio, with its principal place of business in Cincinnati,

Ohio. Defendant manufactures and sells various brands of toothpaste, including Crest.




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                                  JURISDICTION AND VENUE

       83.     This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C.

§1332(d)(2) and the Class Action Fairness Act of 2005 (“CAFA”), because (i) there are 100 or

more class members; (ii) there is an aggregate amount in controversy exceeding $5,000,000,

exclusive of interest and costs; and (iii) there is minimal diversity because at least one member of

the class and defendant are citizens of different states. This court has supplemental jurisdiction

over the state law claims pursuant to 28 U.S.C. § 1367.

       84.     This Court has personal jurisdiction over Defendant Procter & Gamble Company

because the injuries upon which the Illinois Plaintiffs’ action are based occurred or arose out of

activities that Defendant specifically engaged in within the State of Illinois. Plaintiffs purchased

Defendant’s toothpaste products from retail stores located here in Illinois; Defendant knowingly

and intentionally distributed its toothpaste products for sale in Illinois; and Defendant

accomplished this, in part, through operation of a distribution center in Chicago.

       85.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims occurred in the State of Illinois,

including within Cook County.

                                   FACTUAL ALLEGATIONS

       A. Fluoride Toothpaste Poses a Much Greater Risk to Young Children than Adults

       86.     For a multitude of reasons, young children are more vulnerable to suffering harm

from fluoride toothpaste than adolescents and adults.

       87.     Young children have poorly developed swallowing reflexes and, as a result,

swallow a large percentage of the paste that they put into their mouth. As the FDA has explained,

“Children under 6 years of age . . . have not developed control of their swallowing reflex and are



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not able to hold the fluoride preparation in their mouth and then expectorate properly.” 26 Because

of this, “ingestion of fluoride from toothpaste is common and often substantial” for young

children. 27 As summarized in the Journal of Public Health Dentistry, “[v]irtually all authors have

noted that some children could ingest more fluoride from [toothpaste] alone than is recommended

as a total daily fluoride ingestion.” 28

         88.     Young children are also at greater risk from fluoride toothpaste because they

“cannot be expected to rationally interpret and consistently follow the instructions involving

proper toothbrushing.” 29 When toothpaste tastes and smells like candy, for example, young

children will want to swallow it, irrespective of what the fine print on the label says. As noted by

the CDC, children are “known to swallow toothpaste deliberately when they like its taste.” 30 A

recent study found that 35% of kids ate toothpaste “frequently” and an additional 22% of kids ate

toothpaste “a few times.” 31

         89.     Due to their smaller size, young children receive a far higher fluoride dose by

bodyweight (mg/kg/day) than adults, even when ingesting the same amount of paste. A 1 year old

child of average weight (~9 kg) who ingests a single strip of toothpaste will exceed EPA’s

reference dose (0.08 mg/kg/day) for fluoride. According to EPA, children who ingest more than


26
   FDA, Anticaries Drug Products for Over-the-Counter Use; Tentative Final Monograph; Notice
of Proposed Rulemaking, 59 Fed. Reg. 39854, 39867 (Sept. 30, 1985).
27
  Steven M. Levy, A review of fluoride intake from fluoride dentifrice, 60 ASDC J DENT CHILD.
115, 115 (1993).
28
   Steven M. Levy & Nupur Guha-Chowdhury, Total fluoride intake and implications for dietary
fluoride supplementation, 59 J PUBLIC HEALTH DENT. 211, 216-17 (1999).
29
     FDA, supra note 1, at 52487.
30
  CDC, Recommendations for using fluoride to prevent and control dental caries in the United
States. Centers for Disease Control and Prevention, 50 MMWR RECOMM REP. 1, 14 (2001).
31
   Roger K. Celeste & Patricia Blaya Luz, Independent and Additive Effects of Different Sources
of Fluoride and Dental Fluorosis, 38 PEDIATR DENT. 233, 235 Tbl 2 (2016).

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0.08 mg/kg/day are at risk of developing “severe dental fluorosis.” 32

         B. Ingesting Fluoride Toothpaste During Early Childhood Causes Dental Fluorosis

         90.      Dental fluorosis is “a permanent, mottled discoloration of the teeth” 33 that is caused

by ingesting too much fluoride while the teeth are still developing. Once the teeth have finished

forming, fluoride can no longer cause fluorosis. Ergo, only young children are at risk of developing

this condition.

         91.      The first six years of life are the critical window of vulnerability for developing

dental fluorosis, with fluoride exposures during the first 3 years of life being the most significant

for causing fluorosis of the upper front teeth, which are the most cosmetically important teeth. 34

         92.      Dental fluorosis comes in various degrees of severity. 35 The mild forms of fluorosis

cause “permanent white lines or streaks” on the teeth, whereas the severe forms of fluorosis cause

“brown, gray, or black patches and pits, typically on top of an irregular tooth surface.” 36




32
  ENVIRONMENTAL PROTECTION AGENCY: FLUORIDE: DOSE-RESPONSE ANALYSIS FOR NON-
CANCER EFFECTS 107 (2010),
33
     FDA, supra note 1, at 52487.
34
   Michael R. Franzman, et al., Fluoride dentifrice ingestion and fluorosis of the permanent
incisors, 137 J AM DENT ASSOC. 645, 646 (2006).
35
  NATIONAL RESEARCH COUNCIL, FLUORIDE IN DRINKING WATER: A SCIENTIFIC REVIEW OF
EPA’S STANDARDS 104 (2006).
36
  Colgate, Causes of Brown Spots on the Teeth, https://www.colgate.com/en-us/oral-health/adult-
oral-care/brown-spots-on-teeth-causes (last accessed Jan. 13, 2025).

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                                           Photos of Dental Fluorosis

          93.    Microscopically, “dental fluorosis is a condition of permanent hypomineralized

change, with increased surface and sub-surface enamel porosity resulting from excess fluoride

reaching the developing tooth prior to eruption.” 37 In short, “fluoride affects the forming enamel

by making it more porous.” 38

          94.    It is well established that ingesting fluoride toothpaste can cause dental fluorosis.

The American Dental Association states that “ingesting pea-sized amounts or more [of fluoride

toothpaste] can lead to mild fluorosis.” 39

          95.    According to a review in the journal Pediatric Dentistry “[b]ased on the number of

well-conducted case control studies, and the strength of the associations seen in the various studies,

the risk of fluorosis from early use of fluoride toothpaste is no longer a controversial issue.” 40

          96.    The CDC agrees that fluoride toothpaste causes fluorosis: “Fluoride toothpaste

contributes to the risk for enamel fluorosis because the swallowing reflex of children aged <6 years




37
  Brian A. Burt, The changing patterns of systemic fluoride intake. 71 J DENT RES. 1228, 1228
(1992).
38
     Mascarenhas, supra note 16, at 269.
39
     American Dental Association Council on Scientific Affairs, supra note 5, at 190.
40
     Mascarenhas, supra note 16, at 274.

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is not always well controlled, particularly among children aged <3 years.” 41 The CDC states that

the risk of developing fluorosis from using fluoride toothpaste is greatest for children under the

age of two: “Children who begin using fluoride toothpaste at age <2 years are at higher risk for

enamel fluorosis than children who begin later or who do not use fluoride toothpaste at all.” 42

           97.   The ingestion of fluoride toothpaste is considered to be a key reason for the

skyrocketing prevalence of dental fluorosis in the US. In the 1940s, dental fluorosis was a rare

condition that was generally found only in areas with elevated fluoride in water. Since that time,

with the advent of water fluoridation programs and fluoridated dental products, the rate of dental

fluorosis has steadily increased. The most recent national survey from the CDC, conducted in

2015-2016, found that 68.2% of children now have some form of dental fluorosis. 43

           98.   Dental fluorosis, even in its “mild” forms, is recognized to be cosmetically

objectionable when present on a child’s upper front teeth (i.e., maxillary anterior teeth). 44

           99.   The following are some findings from the peer-reviewed dental literature regarding

the disfiguring effects of “mild” fluorosis:

                     a. “Mild and moderate dental fluorosis had a negative aesthetic effect on the

                         studied population, leading to a strong desire to seek dental treatment to

                         change the appearance of affected teeth.” 45




41
     CDC, supra note 30, at 14.
42
     Id.
43
     Hung et al., supra note 22.
44
  Susan O. Griffin et al., Esthetically objectionable fluorosis attributable to water fluoridation,
30 COMMUNITY DENT ORAL EPIDEMIOL. 199, 202-03 (2002).
45
  Frederico Omar Gleber-Netto, et al. Assessment of aesthetic perception of mild and moderate
dental fluorosis levels among students from the Federal University of Minas Gerais-UFMG,
Brazil, 9 ORAL HEALTH PREV DENT 339, 339 (2011).

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                     b.   “The key finding to emerge from this study was the negative psychosocial

                          impact reported by some children with untreated enamel defects . . . . Over

                          half of the children stated that they had been subject to unkind remarks

                          about their teeth by their peers. A number of children described a reluctance

                          to smile or a lack of confidence.” 46

                     c. “Fluorosis was associated with increased parental dissatisfaction with

                          overall appearance, color, and blotchiness of their children’s teeth.” 47

                     d. “The pupils’ feedback was extremely useful, revealing that they believed

                          the ‘marks’ on the teeth to be due to poor oral hygiene, despite a preliminary

                          tutorial which indicated this was not the case.” 48

                     e. “Our studies of esthetic perceptions of dental fluorosis found that members

                          of the public had strong preferences about variations from normal tooth

                          appearance. For example, all respondents had a preference for teeth with

                          normal color over teeth with mild fluorosis . . . .” 49

                     f. “Results show that not only is fluorosis noticeable, but it may be more of an

                          esthetic concern than the other conditions (e.g. isolated opacities,

                          tetracycline staining, or various types of malocclusion).” 50



46
  H.D. Rodd, et al., Seeking children's perspectives in the management of visible enamel defects,
21 Int J Paediatr Dent. 89, 93 (2011); see also Zoe Marshman, et al., The impact of developmental
defects of enamel on young people in the UK, 37 COMMUNITY DENT ORAL EPIDEMIOL. 45 (2008).
47
  Steven M. Levy, et al., Factors associated with parents’ esthetic perceptions of children’s mixed
dentition fluorosis and demarcated opacities, 27 PEDIATR DENT. 486, 486 (2005).
48
   Maura Edwards, et al., An assessment of teenagers’ perceptions of dental fluorosis using digital
stimulation and web-based testing, 33 COMMUNITY DENT ORAL EPIDEMIOL. 298, 305(2005).
49
     Steven M. Levy, An update on fluorides and fluorosis, 69 J CAN DENT ASSOC. 286, 287 (2003).
50
     Carrie B. McKnight, et al., A pilot study of esthetic perceptions of dental fluorosis vs. selected
                                                    21
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                     g. “A strong association between fluorosis and parental satisfaction was

                        evident, even at a low level of severity.” 51

                     h. “South Australian children 10- to 17-years-old were able to recognize very

                        mild and mild fluorosis and register changes in satisfaction with the colour

                        and appearance of teeth. Even mild changes were associated with psycho-

                        behavioural impacts.” 52

                     i. “[O]bservers felt that the appearance would increasingly embarrass the

                        child as the TF score increased.” 53

          100.   Due to the objectionable appearance of fluorosis, many people with the condition

pay for cosmetic treatment (e.g., abrasion of the tooth surface in mild cases, and veneers in severe

cases). This treatment can be expensive and beyond the financial means for some families.

          C. Ingesting Fluoride Toothpaste Can Cause Stomach Flu Symptoms

          101.   Ingesting too much fluoride toothpaste can cause symptoms of acute toxicity that

mimic the symptoms of stomach flu, including nausea, upset stomach, and vomiting.

          102.   According to a review in the Journal of Public Health Dentistry, “Parents or

caregivers may not notice the symptoms associated with mild fluoride toxicity or may attribute

them to colic or gastroenteritis, particularly if they did not see the child ingest fluoride. Similarly,

because of the nonspecific nature of mild to moderate symptoms, a physician’s differential

diagnosis is unlikely to include fluoride toxicity without a history of fluoride ingestion.” 54


other dental conditions, 65 ASDC J DENT CHILD 233, 233 (1998).
51
   James A. Lalumandier & R. Gary Rozier, Parents’ satisfaction with children’s tooth color:
fluorosis as a contributing factor, 129 J AM DENT ASSOC. 1000, 1003 (1998).
52
     John Spencer, et al., Water fluoridation in Australia, 13 COMMUNITY DENT HEALTH 27 (1996).
53
     Paul J. Riordan, Perceptions of dental fluorosis, 72 J DENTAL RES 1268, 1268 (1993).
54
     Jay D. Shulman & Linda M. Wells, Acute fluoride toxicity from ingesting home-use dental
                                                   22
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          103.   The mechanism by which fluoride causes stomach flu symptoms has been described

as follows: “When above normal amounts of fluoride are ingested, the fluoride combines with

hydrochloric acid in the stomach and forms hydrofluoric acid. As a result, the hydrofluoric acid

has a burning effect on the gastric lining causing gastrointestinal (GI) symptoms such as nausea,

vomiting, abdominal cramping, and discomfort.” 55

          104.   As with all toxicants, the dose of fluoride that causes symptoms of acute toxicity

varies considerably across the population, with some children being much more vulnerable, and

other children being much more resistant, than the “average child.” 56

          105.   Symptoms of nausea and gastrointestinal distress have been reported at doses as

low as 0.1 mg/kg.57 A 1 year-old-child of average weight (~9 kg) will ingest this much fluoride by

swallowing as little as one full strip of fluoride toothpaste.

          106.   In adults, a one-time ingestion of as little as 3 milligrams of fluoride in one sitting

(or the equivalent of about 3 strips of fluoride toothpaste) has been found to cause “widespread”

erosions of the gastric mucosa in the stomach. 58 The dose that causes erosions in the stomach of

children has not been studied (due to ethical constraints) but will almost certainly be less than 3

mg due to lower bodyweight and smaller stomach space.




products in children, birth to 6 years of age, 57 J PUBLIC HEALTH DENT. 150, 157 (1997).
55
  Mary D. Cooper & Connie M. Kracher, Are our patients guzzling too much fluoride?, RDH
MAGAZINE,          Feb.       1,       1997,        https://www.rdhmag.com/patient-care/rinses-
pastes/article/16406858/are-our-patients-guzzling-too-much-fluoride.
56
   E.g., H.G. Eichler, et al., Accidental ingestion of NaF tablets by children--report of a poison
control center and one case, 20 INT J CLIN PHARMACOL THER TOXICOL. 334 (1982). Cf. C.J. Spak,
et al., Studies of human gastric mucosa after application of 0.42% fluoride gel, 69 J DENT RES.
426 (1990).
57
     Kenji Akiniwa, A Re-examination of acute toxicity of fluoride, 30 FLUORIDE 89 (1997).
58
     Spak, supra note 56.

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          107.   If a 1-year-old-child ingests a full strip of Crest “kids” fluoride toothpaste, the

National Capital Poison Center recommends that the child take “Two tablets of chewable calcium

or calcium plus vitamin D supplement,” “Four ounces of milk,” or “One tablespoon of liquid

antacid containing magnesium or aluminum” in order to help prevent “nausea, vomiting,

diarrhea.” 59

          D. 1/3 of a Tube of “Kids” Fluoride Toothpaste Has Enough Fluoride to Kill a

              Toddler

          108.   Fluoride is a “protoplasmic poison” 60 that can kill humans at doses not that much

 higher than arsenic. 61 The potency of fluoride’s acute toxicity is why fluoride has been used as

 the active ingredient in rodenticides (to kill rodents) and insecticides (to kill bugs). 62 As far back

 as 1895, it was observed that “sodium fluoride is an active poison for micro-organisms of all

 kinds, algae, and nerves and muscles of the higher organisms.” 63

          109.   The “Probable Toxic Dose” (“PTD”) for fluoride is 5 mg/kg. 64 The PTD “is defined

as the dose of ingested fluoride that should trigger immediate therapeutic intervention and


59
     See https://triage.webpoisoncontrol.org/ (last accessed Jan. 13, 2025).
60
     Editorial, Chronic fluorine intoxication, 123 J AM DENT ASSOC. 150, 150 (1943).
61
   The CDC states that “[a]s little as 1–2.5 mg/kg of arsenic trioxide is a potentially fatal dose.”
CDC, Medical Management Guidelines for Arsenic (As) and Inorganic Arsenic Compounds,
https://wwwn.cdc.gov/TSP/MMG/MMGDetails.aspx?mmgid=1424&toxid=3. This is only
slightly lower than the potentially fatal dose of fluoride (5 mg/kg), as discussed below. See also
Floyd DeEds, Fluorine in relation to bone and tooth development, 33 J AM DENT ASSOC. 568, 570
(1936) (“Such a comparison of toxicity data suggests that fluorine, lead and arsenic belong to the
same group, as far as ability to cause some symptom of toxicity in minute dosage is concerned.”).
62
  KAJ ROHOLM, FLUORINE INTOXICATION: A CLINICAL HYGIENIC STUDY WITH A REVIEW OF THE
LITERATURE AND SOME EXPERIMENTAL INVESTIGATIONS 301 (1937).
63
  Herbert B. Baldwin, The toxic action of sodium fluoride, 21 J AM CHEM SOC. 517, 521 (1899)
(quoting Czrellitzer 1895).
64
  Gary M. Whitford, Fluoride in dental products: safety considerations, 66 J DENT RES. 1056,
1056 (1987).

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hospitalization because of the likelihood of serious toxic consequences.” 65 It is the “minimum dose

that could cause toxic signs and symptoms, including death, and that should trigger immediate

therapeutic intervention and hospitalization.” 66

           110.     Due to person-to-person variations in sensitivity to fluoride toxicity, not all people

who ingest 5 mg/kg will experience significant toxicity. But, “if it is even suspected that 5.0 mg/kg

or more of fluoride has been ingested, then it should be assumed that an emergency exists.

Appropriate therapeutic measures and hospitalization should be instituted immediately.” 67

           111.     A tube of KID’S CREST ONE contains 143 milligrams of fluoride. 68 A 1 year-old-

child of average weight (~9 kg) would need to ingest only 1/3 of the tube to exceed the PTD, while

a 2-year-old-child of average weight (~12 kg) would need to ingest only 42% of the product to

exceed the PTD.

           112.     Each year there are between 10,000 and 15,000 calls to poison control centers as a

result of excess ingestion of fluoride toothpaste. 69 The vast majority of these calls are made on

behalf of very young children, and hundreds of these calls result in hospitalizations.

           113.     The number of poisoning incidents from consumer products reported to poison

control centers is recognized to “likely underestimate the total incidence and severity of




65
     Id.
66
     Id. at 1057.
67
     Id.
68
     Defendant’s KID’S CREST TWO toothpaste contains approximately 130 mg of fluoride.
69
  David D. Gummin et al., 2020 Annual Report of the American Association of Poison Control
Centers' National Poison Data System (NPDS): 38th Annual Report, 59 CLIN TOXICOL (Phila)
1282, 1448 (2020); David D. Gummin et al., 2021 Annual Report of the National Poison Data
System© (NPDS) from America's Poison Centers: 39th Annual Report, 60 CLIN TOXICOL (Phila)
1381, 1581 (2021).

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poisonings.” 70 This is the case even for poisonings that cause outcomes as severe as death. 71

         114.    Consistent with the general recognition that poison control data underestimates the

true extent and severity of poisonings, the number of poisonings from fluoride toothpaste is also

believed to “underestimate” the true extent of fluoride poisonings due to “substantial

underreporting” of such incidents. 72

         E. Other Health Concerns with Early Life Exposure to Fluoride

         115.    Acute toxicity and dental fluorosis are not the only health concerns with excess

ingestion of fluoride.

         116.    In 2006, the National Research Council (“NRC”) of the National Academies of

Science published a comprehensive review of fluoride toxicology which concluded, among other

things, that excess fluoride exposure weakens bone, damages the brain, and disrupts the endocrine

system, including the thyroid gland. 73 According to the NRC, fluoride has been credibly associated

with impaired thyroid function in susceptible humans at doses as low as 0.01 to 0.03 mg/kg/day, 74

which is less than many children will ingest from swallowing fluoride toothpaste. 75

         117.    Another endocrine effect of fluoride exposure that the NRC flagged is impaired



70
  Arthur Chang, et al., Cleaning and Disinfectant Chemical Exposures and Temporal Associations
with COVID-19 — National Poison Data System, United States, January 1, 2020–March 31, 2020,
69 MMWR MORB MORTAL WKLY REP. 16 496, 496-97 (2020).
71
  Christopher Hoyte, Medical Director of the Rocky Mountain Poison Center, Presentation to
FDA Workshop “Defining ‘Candy-Like’ Nonprescription Drug Products,” Oct. 30, 2023, p. 232.
72
     Shulman & Wells, supra note 54, at 157.
73
     NATIONAL RESEARCH COUNCIL, supra note 35, at 178-80, 220-22 & 260-66.
74
   Id. at 263 (“In humans, effects on thyroid function were associated with fluoride exposures of
0.05-0.13 mg/kg/day when iodine intake was adequate and 0.01-0.03 mg/kg/day when iodine
intake was inadequate.”).
75
   A 2-year-old-child of average weight (~12 kg) will ingest 0.04 mg/kg from ingesting just half
of a full strip of Defendant’s kids toothpaste products.

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glucose metabolism, which is believed to be caused by fluoride’s “inhibition of insulin

production.” 76 According to the NRC, blood fluoride levels of 0.1 mg/L are credibly associated

with this effect. 77 A preschool child who ingests a full strip of fluoride toothpaste will have blood

fluoride levels that temporarily approximate or exceed this level. 78

           118.    In August of 2024, the National Toxicology Program (“NTP”), which is part of the

National Institutes of Health, published a systematic review in which it concluded that excess

fluoride exposure is “consistently associated with reduced IQ in children.” 79

           119.    In January of 2025, NTP scientists published a meta-analysis of 74 human studies

on fluoride and IQ in the journal JAMA Pediatrics. 80 The NTP analysis “found inverse associations

and a dose-response relationship between fluoride measurements in urine and drinking water and

children’s IQ across the large multicountry epidemiological literature.”

           120.    The NTP has flagged toothpaste as a source of childhood fluoride exposure that

could contribute to the risk of neurodevelopmental problems. According to the NTP, “children

may be getting more fluoride than they need because they now get fluoride from many sources

including treated public water, water-added foods and beverages, teas, toothpaste, floss, and

mouthwash, and the combined total intake of fluoride may exceed safe amounts.” 81


76
     Id. at 264.
77
     Id.
78
   See Jan Ekstrand et al., Plasma fluoride concentrations in pre-school children after ingestion of
fluoride tablets and toothpaste, 17 CARIES RES. 379 (1983).
79
   NATIONAL TOXICOLOGY PROGRAM, NTP MONOGRAPH ON THE STATE OF THE SCIENCE
CONCERNING FLUORIDE EXPOSURE AND NEURODEVELOPMENT AND COGNITION: A SYSTEMATIC
REVIEW.       Available    online at  https://ntp.niehs.nih.gov/sites/default/files/2024-
08/fluoride_final_508.pdf.
80
  Kyla Taylor et al., Fluoride exposure and children’s IQ scores: A systematic review and meta-
analysis, JAMA PED. doi: 10.1001/jamapediatrics.2024.5542 (published online on Jan. 6, 2025).
81
      National Toxicology Program, Fluoride Exposure: Neurodevelopment and Cognition,
                                                  27
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         121.    On September 24, 2024, after hearing extensive expert testimony about NTP’s

findings and other recent research, the Honorable Judge Edward Chen from the U.S. District Court

for the Northern District of California concluded that the addition of fluoride to drinking water

“poses an unreasonable risk of reduced IQ in children.” Food & Water Watch, Inc. v. United States

EPA, No. 17-cv-02162-EMC, 2024 U.S. Dist. LEXIS 172635, at *4 (N.D. Cal. Sep. 24, 2024).

         122.    Judge Chen’s detailed 80-page decision, along with the NRC and NTP reports,

further highlights the need to limit children’s ingestion of fluoride.

         F. The Undisputed Need to Limit a Child’s Use and Ingestion of Fluoride Toothpaste

         123.    U.S. health authorities, and the Defendant itself, agree caregivers should strictly

limit the amount of fluoride toothpaste that young children use.

         124.    The FDA states that fluoride toothpaste is contraindicated for children under 2

because “[c]hildren under 2 years of age do not have control of their swallowing reflex and do not

have the skills to expectorate the toothpaste properly.” 82 According to both the FDA and CDC,

children under 2 should only use fluoride toothpaste if directed by a dentist. 83

         125.    When children first begin using fluoride toothpaste, CDC states that caregivers

should only put a “smear” of paste on the brush, and this should remain the practice until the child

turns 3. To quote: “Children aged <3 years should use a smear the size of a rice grain, and children

aged >3 years should use no more than a pea-sized amount (0.25 g) until age 6 years, by which




https://ntp.niehs.nih.gov/whatwestudy/assessments/noncancer/completed/fluoride (last accessed
Jan. 13, 2025).
82
     FDA, supra note 1, at 52487,
83
  21 C.F.R. § 355.50(d)(1)(i) (“Children under 2 years of age: Consult a dentist or doctor.”); CDC,
supra note 30, at 27 (“Parents and caregivers should consult a dentist or other health-care provider
before introducing a child aged <2 years to fluoride toothpaste.”).

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time the swallowing reflex has developed sufficiently to prevent inadvertent ingestion.” 84

           126.   The American Dental Association agrees that caregivers should put “no more than

a smear or the size of a grain of rice” of fluoride toothpaste on the brush for children under 3, and

“no more than a pea-sized amount” for children 3 to 6. 85 The ADA provides the following figure86

to show what a “smear” and “pea-sized” amount looks like:




           127.   As ADA states in the above figure, a smear of paste represents 0.1 mg of fluoride,

or approximately 0.1 grams of paste, while a pea-sized amount represents 0.25 mg of fluoride, or

approximately 0.25 grams of paste.

           128.   The AAP, 87 AAPD, 88 and other major manufacturers of fluoride toothpaste,


84
     Thornton-Evans, supra note 2, at 87.
85
     ADA, supra note 5, at 191.
86
     Id.
87
  Melinda B. Clark, et al., Fluoride Use in Caries Prevention in the Primary Care Setting, 146
PEDIATRICS e2020034637, Tbl 1 (2020).
88
     American Academy of Pediatric Dentistry, Frequently Asked Questions, https://www.aapd.
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including Colgate, 89 agree with the ADA that fluoride toothpaste use should be limited to a

“smear” for children under 3, and a “pea-sized” amount for children 3 to 6.

          129.   The National Capital Poison Center, which works to prevent poisonings from

fluoride toothpaste, states: “For children under 3 years of age, only use a smear or the size of a

grain of rice of fluoride toothpaste for brushing, starting when the first tooth appears.” 90

          G. Defendant’s Extensive and Longstanding Marketing Efforts Helped Shape
             Consumer Perceptions on the Safe and Age-Appropriate Amount of Fluoride
             Toothpaste for Young Children

          130.   Defendant is the largest manufacturer of fluoride toothpaste in the U.S.

          131.   Defendant engaged in extensive marketing efforts for decades, including prominent

advertisements on national tv and major print media, to promote the use of fluoride toothpaste for

young children. These advertisements played a key role in implanting the idea that a full strip of

fluoride toothpaste is a safe and age-appropriate amount of toothpaste for young children to use.

          132.   As can be seen in the images below, Defendant’s national advertisements

repeatedly showed full strips of toothpaste on children’s toothbrushes, and made representations

that stressed the harmlessness and safety of early-life fluoride exposure (including showing a tube

of Crest fluoride toothpaste in a baby bottle with the words “The sooner the better”).




org/resources/parent/faq/ (last accessed Jan. 13, 2025).
89
        Colgate, Pediatric Guidelines for Using Toothpaste in Young Children,
https://www.colgate.com/en-us/oral-health/kids-oral-care/pediatric-guidelines-for-using-
toothpaste-in-young-children (last accessed Jan. 13, 2025); Colgate, Pediatric Guidelines for
Using Toothpaste in Young Children, https://www.colgate.com/en-us/oral-health/kids-oral-
care/pediatric-guidelines-for-using-toothpaste-in-young-children (last accessed Jan. 13, 2025);
Colgate, Best Toothpaste for Kids with Cavities, https://www.colgate.com/en-us/oral-health/kids-
oral-care/best-toothpaste-for-kids-with-cavities (last accessed Jan. 13, 2025).
90
     National Capital Poison Center, supra note 15.

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                       Defendant’s Print Advertisements
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                           Still Shots from Defendant’s TV Advertisements

          133.   Prior to the 1980s, Defendant did not use candy flavors or cartoon imagery to

market its toothpastes to young children. Upon information and belief, Defendant recognized that

such marketing efforts would be grossly irresponsible.

          134.   Beginning in the 1980s, however, Defendant abandoned its prior restraint and

began adding features to its packaging to further expand its share of the children’s market,

including the addition of candy flavors, bright sparkling colors, and cartoon imagery.

          135.   Dental fluorosis rates among U.S. children have risen sharply since the 1980s, and

the marketing efforts that Defendant pioneered are believed to be one of the key reasons why. 91


91
     Neurath, supra note 19, at 306.
                                                 32
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          H. The Problem with Presenting Fluoride Toothpaste as a Candy-Like Drug

          136.   It is well recognized that presenting drugs as “candy-like” products increases the

risk of overdose, particularly for young children. This problem has long been specifically flagged

in the context of fluoride toothpaste.

          137.   In 1992, the Journal of Public Health Dentistry published a consensus statement

which read, in part, “The use of flavors that may increase the ingestion of fluoridated dentifrices

by young children should be strongly discouraged.” 92

          138.   In 1993, a consensus statement from Canadian dental researchers stated, in part:

“Manufacturers should be discouraged from marketing toothpastes which, because of their taste

or appeal, encourage swallowing or excessive use.” 93

          139.   In 1994, the World Health Organization stated, “the production of candy-like

flavours . . . should not be encouraged for use by children, as they may lead to an excessive

ingestion of fluoride.” 94

          140.   In 1997, the Journal of Public Health Dentistry published a review, which stated

“The use of flavored consumer fluoride products increases the possibility that a child will ingest a

toxic dose of fluoride.” 95

          141.   Marketing fluoride toothpaste as if it were candy, or food, has been criticized as an

“aggressive” and “misleading” marketing tactic. 96 According to Basch and Rajan, “the ubiquitous

presence of food pictures and appealing flavors on the toothpaste creates a distinct conflict. While


92
     Bawden, supra note 11, at 1221.
93
     Introduction to the Workshop, 22 COMMUNITY DENT ORAL EPIDEMIOL. 140, 142 (1993).
94
     WORLD HEALTH ORGANIZATION. FLUORIDES AND ORAL HEALTH 28 (1994).
95
     Shulman & Wells, supra note 54, at 150.
96
     Basch & Rajan, supra note 8, at 316.

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the labels warn the consumer to use only a pea-sized amount and note that toothpaste is not

intended to be swallowed, many toothpastes simultaneously boast pictures of fruit with flavoring

to match - a common signal to a child that toothpaste is intended to be consumed as if it were

food.” 97

          142.     Studies have empirically tested, and confirmed, that adding candy flavor to

toothpaste increases the amount of paste that children add to their brush, as well as the amount of

toothpaste that they ingest. 98

          143.     According to the FDA, marketing dangerous products to children through the use

of candy or food flavoring can qualify as a “misleading” marketing tactic that renders a product

“misbranded” under the FDCA. 99

          I. FDCA Requirements for Fluoride Toothpaste

          General Requirements

          144.     The FDCA prohibits companies from selling over-the-counter drugs that are

“misbranded.” 21 U.S.C. § 331(a).

          145.     A drug is misbranded if it has packaging that “is false or misleading in any



97
     Id. at 316.
98
   Steven M. Levy, et al., A pilot study of preschoolers' use of regular-flavored dentifrices and
those flavored for children, 14 PEDIATR DENT. 388 (1992); Steven M. Adair, et al., Comparison of
the use of a child and an adult dentifrice by a sample of preschool children, 19 PEDIATR DENT. 99
(1997); Claudia A. Kobayashi, et al., Factors influencing fluoride ingestion from dentifrice by
children, 39 COMMUNITY DENT ORAL EPIDEMIOL. 426 (2011); Carrie A. Strittholt, et al., A
randomized clinical study to assess ingestion of dentifrice by children, 75 REGUL TOXICOL
PHARMACOL. 66 (2016).
99
    E.g., FDA Warning Letter to Electric Lotus, LLC, Nov. 29, 2018, available at:
https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-
letters/electric-lotus-llc-568710-11292018 (warning liquid tobacco companies that their use of
candy flavoring is “misleading” and “increases the likelihood that children will ingest the product
as a food”).

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particular.” 21 U.S.C. § 352(a)(1) (emphasis added).

       146.    An over-the-counter drug is “not misbranded” if it satisfies “each of the conditions

contained in any applicable monograph” and is “labeled in compliance” with 21 U.S.C. § 352. 21

C.F.R. § 330.1(c)(1). Thus, a drug can meet each of the conditions of an applicable Monograph

and still be misbranded if it has textual or visual representations on the label that are not required

by the Monograph and which are “false and misleading in any particular.”

       Specific Requirements

       147.    The FDA has issued a Monograph for anti-cavity dental products, including

fluoride toothpaste. 21 C.F.R. § 355.50.

       148.    The FDA requires that all fluoride toothpastes provide the following warning:

“Keep out of reach of children under 6 years of age. If more than used for brushing is accidentally

swallowed, get medical help or contact a Poison Control Center right away.” 21 C.F.R. §

355.50(c)(1). The FDA requires that the first sentence of this warning be in bold type. Id.

       149.    The FDA requires that all fluoride toothpastes provide the following directions:

“Adults and children 2 years of age and older: Brush teeth thoroughly, preferably after each meal

or at least twice a day, or as directed by a dentist or doctor. Instruct children under 6 years of age

in good brushing and rinsing habits (to minimize swallowing). Supervise children as necessary

until capable of using without supervision. Children under 2 years of age: Consult a dentist or

doctor.” 21 C.F.R. § 355.50(d)(1)(i).

       Things that the FDA Does Not Require

       150.    The FDA does not require the label of fluoride toothpastes to depict full strips of

toothpaste.

       151.    The FDA does not require fluoride toothpastes to be presented as candy-like



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products.

        152.   The FDA does not require fluoride toothpastes to have cartoon imagery that directly

appeals to young children on the front of the product.

        153.   The FDA does not require fluoride toothpastes to state that they are approved by

the ADA. 100

        J. The Defendant’s Products at Issue

        154.   Plaintiffs’ claims in this case involve the following two products: (1) KID’S

CREST ONE and (2) KID’S CREST TWO (collectively, “the Products”).

                                     KID’S CREST ONE




100
    The FDA does not prohibit showing ADA’s seal of approval, but the agency has made clear
that the inclusion of this seal is subject to the prohibition on false or misleading labeling. See FDA,
supra note 26, at 39868 (“As with other statements differing from the wording in the monograph,
the ADA’s approval statement and seal may appear on product labeling subject to the prohibitions
in 21 USC 352(a) against false or misleading labeling.”).

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          155.   KID’S CREST ONE is Defendant’s most popular toothpaste for kids. While the

labeling stresses that it is a “KID’S” toothpaste, it contains the same fluoride concentration

(0.243% sodium fluoride) as Defendant’s adult-branded “Cavity Protection” toothpaste. 101

          156.   While KID’S CREST ONE comes in several shapes and sizes, the front label of the

product is false and misleading across each and every iteration of the product.

          157.   The following attributes, present on each and every variation of KID’S CREST

ONE, individually and collectively convey the false and misleading impressions that (a) the

product is specially formulated to be safe for young children to ingest, and (b) a full strip is a safe

and age-appropriate amount of paste for a child under 6 to use:

                 a. The front label of the product prominently displays the word KID’S in rainbow-

                     colored crayon font.

                 b. Contrary to all other Crest-branded kids fluoride toothpastes that Defendant

                     sells, KID’S CREST ONE does not have a “3+ YRS” notation, thus implying

                     that the product is specially formulated to be safe for children under 3.

                 c. The front label of the product prominently displays an image of a full strip of

                     toothpaste, despite the fact that Defendant knows this is 8 to 10 times more

                     than the safe and recommended amount for a <3 year old, and 3 to 4 times

                     more than the safe and recommended amount for a 3-6 year old.

                 d. The toothpaste in the tube has a bright blue (sparkle fun) or bright pink (bubble

                     gum) color, and a taste and smell that is essentially identical to candy. Since

                     candy is something that children can safely ingest, the candy-like element of

                     the product signifies the safety of the product for children to ingest.



101
      See https://smartlabel.pg.com/en-us/00037000512066.html (last accessed Jan. 13, 2025).
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          158.    None of the deceptive attributes identified in the foregoing paragraph are required

by the FDCA or its accompanying regulations, including the Monograph. Individually and

collectively, these deceptive attributes lead reasonable consumers to believe, and did lead Plaintiffs

to believe, that KID’S CREST ONE is specially formulated to be safe for young children to ingest,

and that a full strip of toothpaste is a safe and age-appropriate amount of toothpaste for a child

under 6 to use.

          159.    The regular-sized version of KID’S CREST ONE comes in two flavors: Sparkle

Fun and Bubble Gum. The Bubble Gum-flavored product comes in a stand-up tube and is not sold

in a box. The Sparkle Fun-flavored product, which is, by far, the highest-selling iteration of KID’S

CREST ONE, comes in a regular tube and is sold in a box.

          160.    The box that contains the regular-sized Sparkle Fun version of KID’S CREST ONE

has the following elements which further magnify the deception identified in paragraph 151:

                  a. Prominent emblazonment of the word KID’S on all six sides of the box.

                  b. Prominent display of a full strip of toothpaste on two sides of the box.

                  c. Prominent display of ADA’s seal of approval on three sides of the box, without

                     any disclosure of ADA’s guideline that children under three should use no more

                     than a “smear” of fluoride toothpaste.

                  d. A statement on one side of the box which, in bold letters, reads: “GENTLE ON

                     TOOTH ENAMEL.” This despite the fact that the Defendant knows this

                     product will cause many children to develop a mineralization disorder of tooth

                     enamel called dental fluorosis which Defendant admits will cause teeth to have

                     “less than normal amounts of calcification in the teeth.” 102



102
      Crest, supra note 17.
                                                   38
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       161.    None of the deceptive attributes on the box that are identified in the foregoing

paragraph, and which further magnify the deception described in paragraph 157, are required by

the FDCA or its accompanying regulations, including the Monograph.

       162.    Plaintiffs relied upon each of the aforementioned deceptive attributes, both

individually and collectively, in purchasing the KID’S CREST ONE product. These deceptive

attributes caused Plaintiffs to falsely believe that KID’S CREST ONE is safe for their young

children to ingest, and that a full strip of toothpaste is a safe and age-appropriate amount of paste

for a child under 6 to use.

       163.    Based on this deception, Plaintiffs permitted their preschool children to regularly

use this toothpaste in quantities that, unbeknownst to them, far exceed the safe and recommended

amount. They suffered economic loss as a result by obtaining fewer brushings per product.

                                       KID’S CREST TWO




       164.    KID’s CREST TWO has the same fluoride concentration (0.243% sodium fluoride)

as Defendant’s adult-branded Cavity Protection toothpaste.

       165.    KID’S CREST TWO is sold in a box and comes with a prominent 3+ YRS notation.

       166.    The following attributes, present on each variation of KID’S CREST TWO,

individually and collectively convey the false and misleading impressions that (a) the product is

specially formulated to be safe for young children to ingest, and (b) a full strip amount of the paste


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is a safe and age-appropriate amount of paste for a child under 6 to use:

               a. The front label of the product, as well as 4 sides of the box, prominently display

                   the word KID’S in rainbow-colored crayon font.

               b. The toothpaste gel has a taste and smell that is essentially identical to candy-

                   flavored bubble gum. It also has a function that is similar to Gobstopper candy,

                   where the blue color of the gel transforms to pink in the child’s mouth after a

                   certain period of time. Since candy is something that children can safely ingest,

                   the candy-like element of the product signifies the safety of the product for

                   children to ingest.

               c. The front label of the product, as well as three sides of the box, prominently

                   display an image of a full strip of toothpaste, despite the fact that Defendant

                   knows this is 3 to 4 times more than the safe and recommended amount for

                   a 3-6 year old.

               d. One side of the box provides both written and visual instructions for how to

                   use the toothpaste. The visual instructions show a full strip of toothpaste next

                   to the words “KEEP BRUSHING!”




       167.    None of the deceptive attributes identified in the foregoing paragraph are required

by the FDCA or its accompanying regulations, including the Monograph. Individually and

collectively, these deceptive attributes lead reasonable consumers to believe, and did lead Plaintiffs


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to believe, that KIDS CREST TWO is specially formulated to be safe for young children to ingest,

and that a full strip of toothpaste is a safe and age-appropriate amount of paste for a child under 6

to use.

          168.   Based on this deception, Plaintiffs permitted their preschool children to regularly

use this toothpaste in quantities that, unbeknownst to them, far exceed the safe and recommended

amount. They suffered economic loss as a result by obtaining fewer brushings per product.

          K. Defendant’s Violation of the FDCA

          169.   Defendant’s false and misleading labeling, described above, violates the FDCA’s

prohibition on false and misleading labeling. 103 21 U.S.C. § 352(a).

          170.   Defendant’s violation of 21 U.S.C. § 352(a) is not cured by Defendant’s inclusion

of FDA’s required warnings and instructions in the fine print on the back of the label.

          171.   Courts have recognized that false and misleading representations on the front of a

label are not cured or absolved by including correct information in the fine print on the back, even

when the fine print provides all of the requisite information required by the FDA. See, e.g., Cooper

v. Anheuser-Busch, LLC, 553 F. Supp. 3d 83, 107-08 (S.D.N.Y. 2021) (citing cases).

          172.   As the Ninth Circuit explained in Williams v. Gerber Prods. Co., 552 F.3d 934,

939-40 (9th Cir. 2008):

                 We disagree with the district court that reasonable consumers should
                 be expected to look beyond misleading representations on the front
                 of the box to discover the truth from the ingredient list in small print
                 on the side of the box. The ingredient list on the side of the box
                 appears to comply with FDA regulations and certainly serves some
                 purpose. We do not think that the FDA requires an ingredient list so

103
    Plaintiffs recognize that there is no private right of action under FDCA and do not assert such
a claim here. Instead, Plaintiffs’ allegations that Defendant violated the requirements of the FDCA
serve as a prerequisite for their state law claims. See, e.g., In re Beyond Meat, Inc., No. 23 C 669,
2024 U.S. Dist. LEXIS 30397, at *21 (N.D. Ill. Feb. 21, 2024) (“[T]o avoid preemption, a state
law claim related to misleading labeling must allege a violation of the FDCA or its regulations.”).

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               that manufacturers can mislead consumers and then rely on the
               ingredient list to correct those misinterpretations and provide a
               shield for liability for the deception. Instead, reasonable consumers
               expect that the ingredient list contains more detailed information
               about the product that confirms other representations on the
               packaging.

       173.    The Seventh Circuit has endorsed the Ninth Circuit’s approach. In Bell v. Publix

Super Mkts., Inc., 982 F.3d 468, 476, 481 (7th Cir. 2020), the court explained:

               Consumer-protection laws do not impose on average consumers an
               obligation to question the labels they see and to parse them as
               lawyers might for ambiguities, especially in the seconds usually
               spent picking a low-cost product. See, e.g., Danone, US, LLC v.
               Chobani, LLC, 362 F. Supp. 3d 109, 123 (S.D.N.Y. 2019) (“[A]
               parent walking down the dairy aisle in a grocery store, possibly with
               a child or two in tow, is not likely to study with great diligence the
               contents of a complicated product package, searching for and
               making sense of fine-print disclosures . . . . Nor does the law expect
               this of the reasonable consumer. . . . We doubt it would surprise
               retailers and marketers if evidence showed that many grocery
               shoppers make quick decisions that do not involve careful
               consideration of all information available to them. See, e.g., U.S.
               Food & Drug Admin., Guidance for Industry: Letter Regarding
               Point of Purchase Food Labeling (Oct. 2009) (“FDA's research has
               found that with [Front of Package] labeling, people are less likely to
               check the Nutrition Facts label on the information panel of foods
               (usually, the back or side of the package).”)

       L. Defendant’s Deceptive Conduct Caused Economic Injury to Plaintiffs and Class
          Members

       174.    Defendant made the false and misleading representations described above to (i)

obfuscate, distract from, and undermine FDA’s required warnings and directions, (ii) induce

people to buy the Products for young children who otherwise would not have done so if they had

correct information; (iii) induce people to pay more for the Products than they would have paid if

they had correct information; and (iv) induce parents, caregivers, and children to use more of the

Products per brushing than recommended.

       175.    Defendant was, and remains, unjustly enriched each time parents and caregivers act


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on Defendant’s false and misleading packaging, including when caregivers use more than the safe

and recommended amount of Defendant’s toothpaste for a young child. For example:

           a. A parent of a 2-year-old who applies a full strip (0.75-1 grams) of KID’s CREST

               ONE to the brush will obtain 8 to 10 times less brushings per tube than a parent

               who applies the recommended smear of paste (0.1 grams).

           b. A parent of a 3-year old who applies a full strip of KID’s CREST TWO will obtain

               3 to 4 times fewer brushings per tube of paste than a parent who uses the

               recommended pea-sized amount of paste (0.25 grams).

       176.    Had Plaintiffs known and appreciated the truth about the Products, they would have

ensured their child used the recommended amount of paste.

       177.    As an immediate, direct, and proximate result of Defendant’s false and misleading

representations, Plaintiffs and the Class Members purchased more of the Products, and/or paid

more per brushing, than they would have if they had known the truth.

       178.    Consequently, Plaintiffs and the Class Members have suffered injury in fact and

lost money as a result of Defendant’s wrongful conduct.

       179.    Plaintiffs do not seek recovery for any personal injuries that they or their children

may have suffered from using the Products, including any emotional harm stemming therefrom.

                                    CLASS ALLEGATIONS

       180.    Pursuant to Federal Rule of Civil Procedure 23(a) and (b)(3), Plaintiffs bring this

action on behalf of the following classes:

           c. Nationwide Implied Warranty Class: All persons in the United States who (A)

               purchased KID’S CREST ONE for children aged 0 to 6 years and/or purchased

               KID’S CREST TWO for children aged 3 to 6 years, (B) within the applicable



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               statutes of limitation, and (C) who used more than the recommended amount of

               paste.

           d. Multi-State Consumer Deception Statute Class: All persons in Arizona,

               California, Connecticut, Florida, Hawaii, Idaho, Illinois, Massachusetts,

               Minnesota, Missouri, New Jersey, New York, Virginia, Washington State, and

               Washington D.C., who (A) purchased KID’S CREST ONE for children aged 0 to

               6 years and/or purchased KID’S CREST TWO for children aged 3 to 6 years, (B)

               within the applicable statutes of limitation, and (C) who used more than the

               recommended amount of paste.

           e. Alternative Multi-State Consumer Deception Statute Class: All persons in

               California, Illinois, and New York who (A) purchased KID’S CREST ONE for

               children aged 0 to 6 years and/or purchased KID’S CREST TWO for children aged

               3 to 6 years, (B) within the applicable statutes of limitation, and (C) who used more

               than the recommended amount of paste.

       181.    As used herein, the term “Class,” although used in the singular, shall refer to each

of the aforementioned putative classes.

       182.    Excluded from the Class are Defendant, its parents, subsidiaries, affiliates, officers,

and directors; those who used the recommended amount of toothpaste, despite Defendant’s

deceptive practices; those who purchased the Products for resale; those who make a timely election

to be excluded from the classes, and the judge to whom the case is assigned and any immediate

family members thereof.

       183.    The Class Period begins on the date established by the Court’s determination of any

applicable statute of limitations, after consideration of any tolling, discovery, knowing



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concealment, and accrual issues, and ending on the date of entry of judgment.

       184.    Plaintiffs reserve the right to amend the definition of the Class if discovery or

further investigation reveals that the Class should be expanded or otherwise modified.

       185.    Numerosity: The members of the Class are so numerous that joinder of all class

members is impracticable. On information and belief, there are millions of Class Members. Class

Members may be notified of the pendency of this action by recognized, Court-approved notice

dissemination methods, which may include U.S. mail, electronic mail, Internet postings, and/or

published notice.

       186.    Predominance of Common Questions of Law and Fact: Questions of law and

fact common to the members of the Class that predominate over questions that may affect

individual class members include, but are not limited to the following:

       a) Whether the attributes that Defendant has voluntarily added to the Products are false

           and/or misleading;

       b) Whether Defendant knew or should have known that the marketing was false and/or

           misleading;

       c) Whether Defendant has breached the implied warranty of merchantability;

       d) Whether Defendant has violated the state consumer protection statutes alleged herein;

       e) Whether Defendant was unjustly enriched;

       f) Whether Plaintiffs and the Class members have suffered an ascertainable loss of

           monies or property or other value as a result of Defendant’s acts and omissions of

           material facts; and

       g) Whether Plaintiffs and the Class members are entitled to monetary damages and, if

           so, the nature of such relief.



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       187.    Typicality: Plaintiffs’ claims are typical of those of other Class members because,

like all members of the Class, Plaintiffs purchased the Products with the false and misleading

packaging for children under 6, used more of the toothpaste than is safe and recommended, and

sustained economic loss as a result.

       188.    Defendant’s conduct that gave rise to the claims of Plaintiffs and Class members is

the same for Plaintiffs and all members of the putative Class.

      189.     Adequacy: Plaintiffs will fairly and adequately protect the interests of the Class

and have retained counsel that is experienced in litigating complex class actions.

       190.    Plaintiffs have no interests which conflict with those of the Class.

       191.    Plaintiffs and counsel are aware of their fiduciary responsibilities to the Class

members and are determined to diligently discharge those duties by vigorously seeking the

maximum possible recovery for Class members.

       192.    Superiority: A class action is superior to any other available means for the fair and

efficient adjudication of this controversy, and no materially significant difficulties are likely to be

encountered in the management of this class action.

                 a. The damages suffered by each individual member of the Class do not justify

                     the burden and expense of individual prosecution of the complex and extensive

                     litigation necessitated by Defendant’s conduct;

                 b. Even if individual members of the Class had the resources to pursue individual

                     litigation, it would pose a crushing burden on the court system for the cases to

                     be litigated on an individual basis;

                 c. Absent a class action mechanism, Plaintiffs and Class members will continue

                     to suffer harm as a result of Defendant’s unlawful conduct because individual



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                    litigation is wholly impractical and cost prohibitive; and

                d. This action presents no difficulty that would impede its management by the

                    Court as a class action. 104


                                FIRST CAUSE OF ACTION
                       Breach of Implied Warranty of Merchantability

        193.   Plaintiffs incorporate the preceding paragraphs as if fully written herein.

        194.   Plaintiffs bring this claim on behalf of themselves and all members of the

Nationwide Implied Warranty Class.

        195.   All states have adopted Article 2 of the Uniform Commercial Code (UCC), or a

materially identical equivalent, 105 which imposes upon Defendant a duty requiring that the

products it sells are fit for their ordinary purpose and conform to the promises or affirmations of

fact made on the products’ packaging. This implied warranty of merchantability is part of the basis

of the bargain between Defendant, on the one hand, and Plaintiffs and Class members, on the other.

        196.   A good is not “merchantable” for purposes of the implied warranty of

merchantability if it is (A) not fit for the ordinary purpose for which the product is sold, or (B)



104
   Each claimant’s eligibility for relief can be determined through self-identifying affidavits, a
mechanism that courts have widely endorsed in cases, such as the one at bar, involving low-priced
consumer goods. See, e.g., Beaton v. SpeedyPC Software, 907 F.3d 1018, 1030 (7th Cir. 2018);
Mullins v. Direct Dig., Ltd. Liab. Co., 795 F.3d 654, 658 (7th Cir. 2015); Langan v. Johnson &
Johnson Consumer Cos., 897 F.3d 88 (2d Cir. 2018); Benson v. Newell Brands, Inc., No. 19 C
6836, 2021 U.S. Dist. LEXIS 220986, at *30-32 (N.D. Ill. Nov. 16, 2021); Hasemann v. Gerber
Prods. Co., No. 15-CV-2995 (MKB) (RER), 2019 U.S. Dist. LEXIS 28770, at *53-54 (E.D.N.Y.
Feb. 20, 2019); Suchanek v. Sturm Foods, Inc., 311 F.R.D. 239, 259-60 (S.D. Ill. 2015); Brown v.
Hain Celestial Grp., Inc., No. C 11-03082 LB, 2014 U.S. Dist. LEXIS 162038, at *29-30 (N.D.
Cal. Nov. 18, 2014); Cf. Pella Corp. v. Saltzman, 606 F.3d 391, 396 (7th Cir. 2010) (“Under Rule
23, district courts are permitted to ‘devise imaginative solutions to problems created by the
presence in a class action litigation of individual damages issues.’”).
105
   Louisiana is the only state that has not adopted Article 2 of the UCC, but it has codified a
materially equivalent warranty law. See La.C.C. Art. 2550, et seq.
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does not conform to the promises or affirmations of fact made on its packaging.

       197.     KIDS CREST ONE and KIDS CREST TWO are goods contemplated by Article 2

of the U.C.C.

       198.     The purchase of KIDS CREST ONE and KIDS CREST TWO by Plaintiffs and

Class members constitute sales of goods under the U.C.C. and corresponding state statutes.

       199.     Defendant is a merchant of kids fluoride toothpaste.

       200.     The ordinary purpose for which KIDS CREST ONE and KIDS CREST TWO are

sold is as a toothpaste that can be safely used to brush a young child’s teeth.

       201.     Based on Defendant’s packaging of its KIDS CREST ONE and KIDS CREST

TWO toothpastes (see, e.g., supra ¶¶ 157, 160, & 166), Defendant impliedly warranted that a full

strip of Defendant’s toothpaste is a safe and age-appropriate amount for a child under 6 to use.

       202.     At all times relevant to this Complaint, KIDS CREST ONE and KIDS CREST

TWO was not merchantable because it did not conform to the promises and affirmations of fact

set forth in the labeling of the product. Contrary to the visual representations on these products, a

full strip of toothpaste is not a safe or age-appropriate amount of toothpaste for children under 6

to use because it is 8 to 10 times more than the safe and recommended amount for a <3 year

old, and 3 to 4 times more than the safe and recommended amount for a 3-6 year old.

       203.     Because KIDS CREST ONE and KIDS CREST TWO failed to conform to the

promises or affirmations of fact on its packaging, Defendant breached the implied warranty of

merchantability.

       204.     In reliance upon Defendant’s skill and judgment and the implied warranty that a

full strip of KIDS CREST ONE and KIDS CREST TWO is a safe and age-appropriate amount of

toothpaste for children under 6 to use, Plaintiffs and Class members permitted their young children



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to use far more toothpaste per brushing than is actually safe and recommended.

          205.   As a proximate result of Defendant’s breach of the implied warranty of

merchantability, Plaintiffs and Class members suffered economic damages by obtaining less

brushings per tube of Defendant’s toothpaste, and thereby paying more money per brushing.

          206.   Because KIDS CREST ONE and KIDS CREST TWO are still being sold and are

violative of the implied warranty of merchantability, the number of injured Class members

continues to grow.

          207.   Plaintiffs have provided Defendant with the requisite pre-suit notice of claim

demanding Defendant take remedial action. Defendant, however, has failed to remediate its

breach.

          208.   Through its breach of the implied warranty of merchantability, Defendant has been

unjustly enriched, and continues to be unjustly enriched, by unfairly obtaining money from

members of the Class.

          209.   Based on Defendant’s breach of the implied warranty of merchantability, Plaintiffs

and the members of the Nationwide Implied Warranty Class are entitled to relief.

                                SECOND CAUSE OF ACTION
                         Deceptive Acts and Practices in Violation of the
                  Illinois Consumer Fraud and Deceptive Trade Practices Act
                                    815 ILCS 505/1, et seq.

          210.   Plaintiffs incorporate the preceding paragraphs as if fully written herein.

          211.   Plaintiffs Patricia Gurrola, Alejandro Arreola, and Britini Broughton bring this

claim individually and on behalf of the Illinois Class members for the proposed Multi-State

Consumer Deception Statute classes.

          212.   Plaintiffs Gurrola, Arreola and Broughton and other Class Members are persons

within the context of the Illinois Consumer Fraud and Deceptive Trade Practices Act (“ICFA”),


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815 ILCS § 505/1(c).

         213.   Defendant is a person within the context of the ICFA, 815 ILCS § 505/1(c).

         214.   At all times relevant hereto, Defendant was engaged in trade or commerce as

defined under the ICFA, 815 ILCS § 505/1(f).

         215.   Plaintiffs Gurrola, Arreola and Broughton and the proposed Class are “consumers”

who purchased the products identified herein for personal, family, or household use within the

meaning of the ICFA, 815 ILCS § 505/1(e).

         216.   The ICFA prohibits “[u]nfair methods of competition and unfair or deceptive acts

or practices,” which includes “the use or employment of any . . . false pretense, false promise,

misrepresentation or the concealment, suppression or omission of any material fact.” 815 ILCS

505/2.

         217.   A “claim for ‘deceptive’ business practices under the [ICFA] does not require proof

of intent to deceive.” Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547, 575 (7th Cir. 2012) (citation

omitted).

         218.   Defendant has violated, and continues to violate, the ICFA by using deceptive acts

and practices to sell KIDS CREST ONE and KIDS CREST TWO. As described above, including

but not limited to paragraphs 157, 160, and 166, Defendant’s labeling of these products conveys

the false pretense, false promise, and misrepresentation that (a) these products are specially

formulated to be safe for young children to ingest, and (b) a full strip of fluoride toothpaste is a

safe and age-appropriate amount for children under 6 to use.

         219.   Defendant has also violated the concealment and suppression prongs of the ICFA

by stating on the label of KIDS CREST ONE that the product is approved by the ADA while

omitting ADA’s recommendation that children under 3 only use a “smear” (i.e., “rice grain”)



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amount of toothpaste.

       220.    Plaintiffs and the other Illinois Class Members have permitted their preschool

children to use more toothpaste than safe or recommended based on their reasonable reliance on

Defendant’s false and misleading labeling.

       221.    Plaintiffs and Class Members suffered economic damages as a proximate result of

Defendant’s violations of the ICFA by using more of the product per brushing than is safe or

recommended and thereby obtaining less brushings per tube of toothpaste.

       222.    Through its violations of the ICFA, Defendant has been unjustly enriched, and

continues to be unjustly enriched, by unfairly obtaining money from members of the Class.

       223.    Based on Defendant’s deceptive acts and practices, Plaintiffs Gurrola, Arreola and

Broughton and the Illinois Class members are entitled to relief under 815 ILCS §505/10a.

                                THIRD CAUSE OF ACTION
                          Deceptive Business Practices in Violation of
                            California’s Unfair Competition Law
                               Cal. Bus. & Prof. Code §§ 17200

       224.    Plaintiffs incorporate the preceding paragraphs as if fully written herein.

       225.    Plaintiffs Eileen Aviles, Courtney Deschamp, and Yvonne Lamendola bring this

claim individually and on behalf of the California Class members for the proposed Multi-State

Consumer Deception Statute classes.

       226.    California’s Unfair Competition Law (“UCL”) prohibits “fraudulent” acts or

practices, which the statute defines to include any act or practice that is likely to deceive members

of the consuming public. Cal. Bus. & Prof. Code §17200. An intention to defraud is not a necessary

element for demonstrating a fraudulent business practice under the UCL.

       227.    Defendant has violated, and continues to violate, the “fraudulent” prong of the UCL

by using deceptive acts and practices to sell KIDS CREST ONE and KIDS CREST TWO. As


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described above, including but not limited to paragraphs 157, 160, and 166, Defendant’s labeling

is likely to deceive members of the consuming public to believe that (a) these products are specially

formulated to be safe for young children to ingest, and (b) a full strip of fluoride toothpaste is a

safe and age-appropriate amount for children under 6 to use.

       228.    Plaintiffs and the other California Class Members have permitted their preschool

children to use more toothpaste than safe or recommended based on their reasonable reliance on

Defendant’s false and misleading labeling.

       229.    Plaintiffs and Class Members suffered economic damages as a proximate result of

Defendant’s violations of the UCL by using more of the product per brushing than is safe or

recommended, and thereby obtaining less brushings per tube of toothpaste.

       230.    Through its deceptive acts and practices, Defendant has been unjustly enriched, and

continues to be unjustly enriched, by unfairly obtaining money from members of the Class.

       231.    Based on Defendant’s deceptive acts and practices, Plaintiffs Aviles, Deschamp,

and Lamendola and the California Class members are entitled to relief under the UCL.

                              FOURTH CAUSE OF ACTION
                         Deceptive Business Practices in Violation of
                        New York General Business Law §§ 349 & 350

       232.    Plaintiffs incorporate the preceding paragraphs as if fully written herein.

       233.    Plaintiffs Sushmadavi Lakeram and Germaine Dollisme bring this claim

individually and on behalf of the New York Class members for the proposed Multi-State Consumer

Deception Statute classes.

       234.    New York General Business Law (“GBL”) prohibits “deceptive acts or practices

in the conduct of any business, trade, or commerce or in the furnishing of any service in this state.”

GBL § 349. GBL also prohibits “[f]alse advertising in the conduct of any business, trade or



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commerce.” GBL § 350. GBL defines false advertising as including “labeling” of a product that is

“misleading in a material respect.” Id. § 350a(1).

        235.      Defendant has violated, and continues to violate, GBL §§ 349-50 by using

deceptive labeling for KIDS CREST ONE and KIDS CREST TWO. As described above, including

but not limited to paragraphs 157, 160, and 166, this deceptive labeling conveys the false and

misleading impression that (a) these products are specially formulated to be safe for young children

to ingest, and (b) a full strip of fluoride toothpaste is a safe and age-appropriate amount for children

under 6 to use.

        236.      Plaintiffs and the other New York Class Members have permitted their preschool

children to use more toothpaste than safe or recommended based on their reasonable reliance on

Defendant’s false and misleading labeling.

        237.      Plaintiffs and Class Members suffered economic damages as a proximate result of

Defendant’s violations of GBL §§ 349-50 by using more of the product per brushing than is safe

or recommended, and thereby obtaining less brushings per tube of toothpaste.

        238.      Through its deceptive acts and practices, Defendant has been unjustly enriched, and

continues to be unjustly enriched, by unfairly obtaining money from members of the Class.

        239.      Based on Defendant’s deceptive acts and practices, Plaintiffs Lakeram and

Dollisme and the New York Class members are entitled to relief under the GBL §§ 349-50.

                                   FIFTH CAUSE OF ACTION
                            Deceptive Business Practices in Violation of
                           Other Similar State Statutes Identified Herein

        240.      Plaintiffs incorporate the preceding paragraphs as if fully written herein.

        241.      Plaintiffs bring this claim on behalf of the Arizona, Connecticut, Florida, Hawaii,

Idaho, Massachusetts, Minnesota, Missouri, New Jersey, Virginia, Washington State, and



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Washington D.C. members of the proposed Multi-State Consumer Deception Statute Class.

        242.      As described above, including but not limited to paragraphs 157, 160, and 166,

Defendant has engaged in deceptive practices in its marketing of KIDS CREST ONE and KIDS

CREST TWO. Through these deceptive practices, Defendant has conveyed the false and

misleading impression that (a) these products are specially formulated to be safe for young children

to ingest, and (b) a full strip of fluoride toothpaste is a safe and age-appropriate amount for children

under 6 to use.

        243.      Through this deceptive conduct, which violated, and continues to violate, the ICFA

(815 ILCS 505/2), the UCL (Cal. Bus. & Prof. Code §17200), and NY GBL §§ 349-50, Defendant

has simultaneously violated, and continues to violate, the following state consumer protection

statutes:

                  a. Arizona (A.R.S. § 44-1521, et seq.);

                  b. Connecticut (Conn. Gen. Stat. § 42-110a, et seq.);

                  c. Florida (Fla. Stat. § 501.201, et seq.);

                  d. Hawaii (HRS § 481A-1, et seq.);

                  e. Idaho (Idaho Code § 48-601, et seq.);

                  f. Massachusetts (ALM GL ch. 93A, et seq.);

                  g. Minnesota (Minn. Stat. § 325F.68, et seq.);

                  h. Missouri (Mo. Rev. Stat. § 407.005, et seq.);

                  i. New Jersey (N.J.S.A.§ 56:8-1, et seq.);

                  j. Virginia (Va. Code Ann. § 59.1-196, et seq.);

                  k. Washington (Wash. Rev. Code § 19.86.010, et seq.);

                  l. Washington D.C. (D.C. Code § 28-3904, et seq.)



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       244.    Plaintiffs have provided Defendant with the requisite pre-suit notice of claim under

ALM GL ch 93A, et seq. demanding that Defendant take remedial action. Defendant has failed to

take said action.

       245.    Plaintiffs and the other Class Members have permitted their preschool children to

use more toothpaste than safe or recommended based on their reasonable reliance on Defendant’s

false and misleading labeling.

       246.    Plaintiffs and Class Members suffered economic damages as a proximate result of

Defendant’s violations of the aforementioned statutes by using more of the product per brushing

than is safe or recommended, and thereby obtaining less brushings per tube of toothpaste.

       247.    Through its deceptive acts and practices, Defendant has been unjustly enriched, and

continues to be unjustly enriched, by unfairly obtaining money from members of the Class.

       248.    Based on Defendant’s deceptive acts and practices, Plaintiffs and the Class

members are entitled to relief under the aforementioned state statutes.

                                    PRAYER FOR RELIEF

  WHEREFORE, Plaintiffs, on behalf of themselves and those similarly situated, respectfully

  request that the Court enter judgment against Defendant as follows:

       A.      Certification of the proposed Nationwide Implied Warranty Class and Multi-State

               Consumer Deception State Class, including appointment of Plaintiffs’ counsel as

               Class counsel and Plaintiffs as Class Representatives;

       B.      An award of compensatory damages in an amount to be determined at trial;

       C.      An award of restitution in an amount to be determined at trial;

       D.      An award of disgorgement in an amount to be determined at trial;

       E.      An award of statutory damages in an amount to be determined at trial, except as to



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               those causes of action where statutory damages are not available by law;

       F.      An award of punitive damages in an amount to be determined at trial, except as to

               those causes of action where punitive damages are not available by law;

       G.      An award of treble damages, except as to those causes of action where treble

               damages are not available by law;

       H.      An order requiring Defendant to pay both pre- and post-judgment interest on any

               amounts awarded;

       I.      For reasonable attorneys’ fees and the costs of suit incurred; and

       J.      For such further relief as this Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

  Plaintiffs hereby demand a trial by jury on all Counts and as to all issues.

Dated: January 13, 2025                               Respectfully Submitted,

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